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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

In re:
                                                        Case No. 20-12689-JGR
UC COLORADO CORPORATION,
                                                        Chapter 11
                   Debtor.



                 RESERVATION OF RIGHTS OF MINER’S DELIGHT, LLC
              WITH RESPECT TO UNOPPOSED MOTION TO EXTEND TIME TO
                        RESPOND TO ORDER TO SHOW CAUSE



         Miner’s Delight, LLC (“Miner’s Delight”), by and through its undersigned counsel, hereby

submits this reservation of rights with respect to the unopposed motions [Case No. 20-12689-JGR,

Docket No. 28; Case No. 20-12692-JGR, Docket No. 29] (the “Extension Motions”) filed by the

debtors, United Cannabis Corporation and UC Colorado Corporation (together, the “Debtors”), to

extend their deadline to respond to the Court’s Orders to Show Cause why the Debtors’ chapter

11 cases should not be dismissed [Case No. 20-12689-JGR, Docket No. 17; Case No. 20-12692-

JGR, Docket No. 14] (together, the “Show Cause Orders”), as follows:

         1.        Miner’s Delight is the Debtors’ largest creditor. As the Debtors admit in their

Extension Motions, they commenced their chapter 11 cases on April 20, 2020, in direct response

to Miner’s Delight’s execution on a pre-judgment writ of attachment that it obtained from the

District Court for Jefferson County, Colorado on April 8, 2020. Counsel to Miner’s Delight

entered appearances in the above-captioned case on April 23, 2020.

         2.        The Court entered the Show Cause Orders on April 22, 2020. The Show Cause

Orders observe that the Debtors appear to be engaged in the marijuana industry and direct the



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Debtors and the Office of the United States Trustee (the “UST”) to show cause, in writing, by May

4, 2020, why the Debtors’ chapter 11 cases should not be dismissed.

           3.       On April 29, 2020, the Debtors filed the Extension Motions, seeking to extend the

deadline to respond to the Show Cause Orders to May 11, 2020, for the Debtors, the UST, and

Ambria Investors LP, an alleged creditor who was not subject to the Show Cause Orders

(“Ambria”).1

           4.       Miner’s Delight agrees that grounds likely exist for dismissal of the Debtors’

chapter 11 cases and shares the court’s concern expressed in the Show Cause Orders given the

Debtors’ involvement in the cannabis industry. Miner’s Delight does not oppose the extension

sought by the Debtors in the Extension Motions, and it does not seek to be included in any order

granting the Extension Motions as Ambria has done. Nevertheless, Miner’s Delight files this

reservation of rights to advise the Court that it may move to dismiss the Debtors’ chapter 11 cases

once it has an opportunity to review and evaluate the Debtors’ and the UST’s responses to the

Show Cause Orders and reserves all rights in connection with its pursuit of dismissal of the chapter

11 cases.




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    The Debtors did not confer with Miner’s Delight in advance of filing the Extension Motions.

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         Dated: April 29, 2020

                                     Respectfully submitted,

                                     KUTAK ROCK LLP

                                     By: /s/ Adam L. Hirsch
                                        Adam L. Hirsch (CO Reg. # 44306)
                                        1801 California Street, Suite 3000
                                        Denver, CO 80202
                                        Telephone: (303) 297-2400
                                        Facsimile: (303) 292-7799
                                        E-mail: adam.hirsch@kutakrock.com

                                     Attorneys for Miner’s Delight, LLC




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